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               EXHIBIT E
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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


SAMANTHA ALARIO, HEATHER                     Lead Case No.
DIROCCO, CARLY ANN GODDARD,                  9:23-cv-00056-DWM
ALICE HELD, and DALE STOUT,                  CV 23–56–M–DWM

            Plaintiffs,                      Member Case No.
                                             CV 23–61–M–DWM
      v.
                                             DECLARATION OF DALE STOUT
AUSTIN KNUDSEN, in his official              IN SUPPORT OF PLAINTIFFS’
capacity as Attorney General of the State    MOTION FOR PRELIMINARY
of Montana,                                  INJUNCTION

            Defendant.
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I, Dale Stout, declare as follows:

      1.     I make this declaration from personal knowledge.

      2.     I grew up in Washington state, where I worked as a volunteer

firefighter. In 2007, I came to Montana to fight a wildfire in Livingston and decided

to make my home here. I continued to work as a firefighter through 2019 and

eventually moved to Missoula, where I now work in commercial construction.

      3.     I joined TikTok in 2019. I quickly found it to be an incredible place to

meet new people and form deep relationships and community. I have created a very

close group of friends on TikTok who are located all over the world, including

Montana, California, Florida, Puerto Rico, and even Australia. Despite our physical

distance, we are very supportive of each other—always checking in if someone is

going through a difficult time and sharing positive thoughts. Once, we even paid the

electricity bills for one community member when she was out of work. This

community has meant the world to me and kept me feeling strong and connected,

even during lonely and isolated times like the Covid-19 pandemic.

      4.     I use TikTok to maintain connection with the growing community that

I have met and built on the app. We reach out to talk to those who need help, and

have supported many people struggling with depression and isolation. Nine years

ago, I lost my mother to suicide and it hit me harder than anything else in my




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life. This experience made me realize the importance of community and

connection. I am on TikTok to be that support system for others.

      5.     Eventually, I decided to try posting videos on TikTok, mostly for

entertainment and to share my sense of humor and expression with my TikTok

community. My content resonated with others, and I now have 44,000 followers.

      6.     I use TikTok more to connect with others and form relationships than I

do for financial gain. However, I do generate some income from my videos, which

has helped me with bills and household expenses. Most of the income that I generate

from TikTok comes from brand deals or “live-streaming” on the app—a process in

which creators connect with their followers through real-time video and followers

can tip if they like the content.

      7.     I also use TikTok as a source for education. I enjoy learning about

current events on TikTok because I find that certain creators discuss this content in

a transparent and unbiased way. I also enjoy learning new things on TikTok,

including, for example, information on physical health.

      8.     I much prefer using TikTok over any other social media app. While I

have tried Facebook and Instagram, I do not use them anymore and have stopped

posting on Instagram. I have found the community on TikTok to be the strongest

and most positive of all of the social media experiences.




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      9.     If the Montana TikTok ban is allowed to take effect, it will destroy the

special community that has added so much value and joy to my life these past few

years. For many of us, TikTok is far more than just an entertainment app, it is a big

part of our daily lives and an important source for connection, positivity, and

learning in an increasingly isolated world. I joined this lawsuit to stand up for what

is right and to defend this community.

      I declare under penalty of perjury that the foregoing is true and correct.



Signed in Missoula, Montana this 5th day of July, 2023.




                                                           Dale Stout




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